              Case 2:10-md-02179-CJB-DPC Document 6951-1 Filed 07/23/12 Page 1 of 1

AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    Eastern District
                                                 __________  DistrictofofLouisiana
                                                                          __________

             Bayhaven Enterprises, LLC, et al.
                                                                   )
                                                                   )
                             Plaintiff
                                                                   )
                                v.                                 )     Civil Action No. 2:12-cv-01483
     BP EXPLORATION & PRODUCTION, INC.,                            )
    BP AMERICA PRODUCTION COMPANY, et al.                          )
                            Defendant
                                                                   )


                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Airborne Support International, Inc.
                                         C/O Howard Barker, Registered Agent
                                         3626 Thunderbird Road
                                         Houma, LA 70363




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Robert J. McKee, Esquire
                                         Krupnick Campbell Malone Buser Slama Hancock Liberman & McKee, P.A.
                                         12 Southeast Seventh Street, Suite 801
                                         Fort Lauderdale, Florida 33301

                                         Telephone: 954-763-8181

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
